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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                     October 21, 2021

Via Email and Electronic File Transfer


 Lisa Costner                                      Jonathon Moseley
 Ira Knight                                        5765-F Burke Centre Parkway
 Federal Public Defender MDNC                      Suite 337
 251 N. Main St. Suite 849                         Burke, Virginia 22015
 Winston-Salem NC 27101
                                                   Nicholas Smith
 J. Daniel Hull                                    7 East 20th Street
 Hull McGuire PC                                   Suite 4R
 888 Seventeenth Street, NW                        New York, NY 10003
 Suite 1200
 Washington, DC 20006


                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

      I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis.

        This production includes materials from that were produced in cross-discovery in United
States v. Dominic Pezzola et al., 1:21-cr-52 (TJK), a case pending before Judge Kelly. The
materials, which are being made available to you on USAfx, are from Dominic Pezzola’s FBI file,
and they are listed on the index accompanying the materials. As with other cross-discovery
productions, the materials are designative Sensitive pursuant to the protective orders in this case.
The materials are combined in a folder titled “2021.10.21 Cross-Discovery from Pezzola.” The
file names in the index are those that appear in FBI systems. In some instances, the actual names
of the files produced are slightly altered to indicate documents that are redacted or to shorten the
names based on space limitations.
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       Please keep in mind that all of the items placed in the USAfx case-folder will be deleted
automatically – some in as few as 60 days. Please let me know immediately if you have been
unable to access and download the materials for your use in this case.


                                                   Sincerely yours,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Luke M. Jones
                                                   Assistant United States Attorney
                                                   555 4th Street, N.W.
                                                   Washington, D.C. 20530
                                                   (202) 252-7066
                                                   Luke.jones@usdoj.gov




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Title                                                          File Name
                                                               0176‐WF‐3366759‐PEZZOLA 0000001.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000002.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000002 Import.docx
                                                               0176‐WF‐3366759‐PEZZOLA 0000003.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000003 Import.docx
                                                               0176‐WF‐3366759‐PEZZOLA 0000004 1A0000001 0000001.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000007.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000002.jpg
                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000006.jpg


                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000009.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000010.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000007 1A0000002 0000012.jpg
                                                         0176‐WF‐3366759‐PEZZOLA   0000008 Import.docx
                                                         0176‐WF‐3366759‐PEZZOLA   0000009.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000010.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000013.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000015.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000015 1A0000004 0000001.pdf
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                                                         0176‐WF‐3366759‐PEZZOLA   0000017.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000017 1A0000007 0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000017 1A0000007 0000002.jpeg
                                                         0176‐WF‐3366759‐PEZZOLA   0000018.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000019.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000019 1A0000009 0000001.png

                                                         0176‐WF‐3366759‐PEZZOLA 0000020.pdf
                                                         0176‐WF‐3366759‐PEZZOLA 0000020 1A0000011 0000001.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000023.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000025.pdf


                                                         0176‐WF‐3366759‐PEZZOLA   0000025 1A0000014    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000025 1A0000014    0000002.png
                                                         0176‐WF‐3366759‐PEZZOLA   0000026.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000026 1A0000015    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000027.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000027 1A0000016    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000028.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000028 1A0000017    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000029.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000029 1A0000018    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000030.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000030 1A0000019    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000030 1A0000019    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000030 1A0000019    0000003.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000031.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000032.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000032 1A0000020    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000033.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000033 1A0000021    0000001 PHYSICAL.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000033 1A0000021    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000034.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000034 1A0001172    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000034 1A0001172    0000002.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000034 1A0001172 0000003 PHYSICAL.pdf
                                                         0176‐WF‐3366759‐PEZZOLA 0000035.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000035 1A0000022 0000001 PHYSICAL.pdf



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                  U.S. v. Nordean et al., 21‐cr‐175 ‐ Cross Production of Pezzola Files (10.21.2021)
Title                                                          File Name
                                                               0176‐WF‐3366759‐PEZZOLA 0000036.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000036 1A0000023    0000001.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000037.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000037 1A0000024    0000001.mp4
                                                               0176‐WF‐3366759‐PEZZOLA 0000037 1A0000024    0000002.mp4
                                                               0176‐WF‐3366759‐PEZZOLA 0000038.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000038 Import.mov
                                                               0176‐WF‐3366759‐PEZZOLA 0000039.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000001.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000002.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000003.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000004.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000005.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000039 1A0000025    0000006.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000041.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000041 1A0000002    0000001.msg
                                                               0176‐WF‐3366759‐PEZZOLA 0000041 1A0000002    0000002.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000044.pdf

                                                         0176‐WF‐3366759‐PEZZOLA    0000044   1A0001919     0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000046   1A0000029     0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000046   1A0000029     0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000046   1A0000029     0000003.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000047   1A0000030     0000001.txt
                                                         0176‐WF‐3366759‐PEZZOLA    0000047   1A0000030     0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000047   1A0000030     0000003.html
                                                         0176‐WF‐3366759‐PEZZOLA    0000048   1A0000031     0000001.msg
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000002.txt
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000003.asc
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000004.txt
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000005.txt
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000006.txt
                                                         0176‐WF‐3366759‐PEZZOLA    0000049   1A0000032     0000007.txt


                                                         0176‐WF‐3366759‐PEZZOLA 0000050 1A0000033 0000002.msg
                                                         0176‐WF‐3366759‐PEZZOLA 0000051 1A0000034 0000001.csv

                                                         0176‐WF‐3366759‐PEZZOLA 0000051 1A0000034 0000002.csv

                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000003.csv
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000004.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000005.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000006.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000007.csv
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000008.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000009.html
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000010.csv
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000011.csv
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000012.csv
                                                         0176‐WF‐3366759‐PEZZOLA    0000051 1A0000034       0000013.msg
                                                         0176‐WF‐3366759‐PEZZOLA    0000053.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000053 1A0000036       0000001.PNG
                                                         0176‐WF‐3366759‐PEZZOLA    0000053 1A0000037       0000001.jfif
                                                         0176‐WF‐3366759‐PEZZOLA    0000054.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000054 1A0000038       0000001.xlsx
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000002.xls
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000003.htm
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000004.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000005.html
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000006.xls
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000007.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000055 1A0000039       0000008.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000056.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000056 1A0000040       0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA    0000057.pdf




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                  U.S. v. Nordean et al., 21‐cr‐175 ‐ Cross Production of Pezzola Files (10.21.2021)
Title                                                          File Name

                                                             0176‐WF‐3366759‐PEZZOLA       0000058.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000058 1A0000041 0000001.docx
                                                             0176‐WF‐3366759‐PEZZOLA       0000059.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000060.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000060 1A0000004 0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000060 1A0000005 0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000061.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000063.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000069.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000069 1A0000046 0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000074.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000077 1A0000052 0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000078.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000078 1A0000003    0000001.xlsx
                                                             0176‐WF‐3366759‐PEZZOLA       0000079.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000079 Import.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000080.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000080 1A0000007    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000080 1A0000008    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000084.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000084 1A0000010    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000085.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000087.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000087 1A0000054    0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000088.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000088 1A0000055    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000090.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000090 1A0004683    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000093.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000093 1A0000058    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000094.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000095.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000002.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000003.csv
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000004.png
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000005.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000095 1A0000060    0000008.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000096 1A0000061    0000001.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000096 Import.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000097.pdf
                                                             0176‐WF‐3366759‐PEZZOLA 0000097 1A0000062 0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000099.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000099 1A0000007    0000001.zip
                                                             0176‐WF‐3366759‐PEZZOLA       0000099 1A0000007    0000002.zip
                                                             0176‐WF‐3366759‐PEZZOLA       0000099 1A0000007    0000003.zip
                                                             0176‐WF‐3366759‐PEZZOLA       0000101 1A0000065    0000001.zip
                                                             0176‐WF‐3366759‐PEZZOLA       0000103.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000103 1A0000009    0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000105.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000107.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000109.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000109 1A0000001 0000001.jpeg
                                                             0176‐WF‐3366759‐PEZZOLA       0000109 1A0000001 0000002.jfif

                                                             0176‐WF‐3366759‐PEZZOLA 0000109 1A0000001 0000003.pdf
                                                             0176‐WF‐3366759‐PEZZOLA 0000109 1A0000001 0000004.jpg
                                                             0176‐WF‐3366759‐PEZZOLA 0000109 1A0000001 0000005.jpg

                                                             0176‐WF‐3366759‐PEZZOLA 0000110.pdf



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                  U.S. v. Nordean et al., 21‐cr‐175 ‐ Cross Production of Pezzola Files (10.21.2021)
Title                                                          File Name
                                                               0176‐WF‐3366759‐PEZZOLA 0000110 Import.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000111.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000111 Import.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000112.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000112 1A0000006 0000003.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000112 1A0000006 0000004.pdf
                                                               0176‐WF‐3366759‐PEZZOLA 0000112 1A0000006 0000005.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000113.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000113 1A0010020    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000114.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000114 1A0000008    0000001.msg
                                                         0176‐WF‐3366759‐PEZZOLA   0000116.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000117 1A0000066    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000117 1A0000067    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000117 1A0000067    0000002.html
                                                         0176‐WF‐3366759‐PEZZOLA   0000117 1A0000067    0000003.html
                                                         0176‐WF‐3366759‐PEZZOLA   0000119 1A0000071    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000120 1A0000073    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000121.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000124.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000124 1A0000012    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000126 1A0000076    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000128.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000128 1A0000078    0000001.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000128 1A0000078    0000002.mov
                                                         0176‐WF‐3366759‐PEZZOLA   0000129 1A0000082    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000130 1A0000084    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000130 1A0000084    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000133.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000133 1A0000002    0000002.jpeg
                                                         0176‐WF‐3366759‐PEZZOLA   0000133 1A0000002    0000004.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000133 1A0000003 0000001 PHYSICAL.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000134.pdf
                                                         0176‐WF‐3366759‐PEZZOLA 0000135 1A0000086 0000001.pdf

                                                         0176‐WF‐3366759‐PEZZOLA 0000135 1A0000086 0000002.zip
                                                         0176‐WF‐3366759‐PEZZOLA 0000136.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000136 1A0000088    0000001 PHYSICAL.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137 1A0000089    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137 1A0000089    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137 1A0000089    0000003.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137 1A0000089    0000004.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000137 1A0000090    0000001.3gp
                                                         0176‐WF‐3366759‐PEZZOLA   0000138.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000138 1A0007189    0000001.vcf
                                                         0176‐WF‐3366759‐PEZZOLA   0000138 1A0007189    0000002.txt
                                                         0176‐WF‐3366759‐PEZZOLA   0000138 1A0007189    0000003.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000139.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000139 1A0000091    0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000139 1A0000091    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000139 1A0000091    0000003.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000140 1A0000093    0000001.zip
                                                         0176‐WF‐3366759‐PEZZOLA   0000140 1A0000093    0000002.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000143.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000143 1A0000096    0000001.pdf

                                                         0176‐WF‐3366759‐PEZZOLA   0000144.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000144 1A0000097 0000001.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000148.pdf
                                                         0176‐WF‐3366759‐PEZZOLA   0000148 Import.pdf




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                  U.S. v. Nordean et al., 21‐cr‐175 ‐ Cross Production of Pezzola Files (10.21.2021)
Title                                                          File Name

                                                             0176‐WF‐3366759‐PEZZOLA 0000156.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000160.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000161.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000163.pdf
                                                             0176‐WF‐3366759‐PEZZOLA 0000163 1A0000104 0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000164.pdf

                                                             0176‐WF‐3366759‐PEZZOLA 0000165.pdf
                                                             0176‐WF‐3366759‐PEZZOLA 0000165 1A0002502 0000001.jpeg
                                                             0176‐WF‐3366759‐PEZZOLA 0000166 1A0011677 0000001.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000016    0000001 PHYSICAL.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000017    0000001.PNG
                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000017    0000002.PNG
                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000017    0000003.PNG
                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000017    0000004.PNG
                                                             0176‐WF‐3366759‐PEZZOLA       0000167 1A0000017    0000005.PNG
                                                             0176‐WF‐3366759‐PEZZOLA       0000168.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000168 Import.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000171.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000171 1A0000018    0000001.mp4

                                                             0176‐WF‐3366759‐PEZZOLA 0000173.pdf

                                                             0176‐WF‐3366759‐PEZZOLA       0000173 1A0000016 0000001 PHYSICAL.pdf
                                                             0176‐WF‐3366759‐PEZZOLA       0000174.pdf
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                                                             0176‐WF‐3366759‐PEZZOLA       0000175.pdf

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